
842 So.2d 257 (2003)
M.L., a child, Appellant,
v.
STATE of Florida, Appellee.
No. 1D02-2935.
District Court of Appeal of Florida, First District.
April 10, 2003.
Nancy A. Daniels, Public Defender; David P. Gauldin, Assistant Public Defender, Tallahassee, for Appellant.
Charlie Crist, Attorney General; Felicia A. Wilcox, Assistant Attorney General, Tallahassee, for Appellee.
PER CURIAM.
Appellant, M.L., challenges the denial of his motion for judgment of acquittal on the charge of carrying a concealed weapon. Because the State presented no evidence that M.L. either used or intended to use the box cutter found in his possession as a deadly weapon, we reverse his judgment and sentence as to that offense, and remand for further proceedings consistent with this opinion. See T.S. v. State, 734 So.2d 1061 (Fla. 1st DCA 1998); Robinson v. State, 547 So.2d 321 (Fla. 5th DCA 1989).
Reversed and remanded.
BARFIELD, WOLF and DAVIS, JJ., concur.
